Case: 4:18-cv-00308-JCH Doc. #: 170 Filed: 08/06/20 Page: 1 of 1 PageID #: 5620




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

MIACHAEL FAULK,                                 )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )     Cause No.: 4:18-cv-00308
                                                )
CITY OF ST. LOUIS, MISSOURI, et al.,            )
                                                )
       Defendants.                              )

                                  MOTION TO WITHDRAW

       COMES NOW attorney Jacqueline Kutnik-Bauder of ArchCity Defenders, Inc. and

hereby request grant her leave to withdraw as counsel of record for Plaintiff in the above-

captioned matter. All other attorneys of record for Plaintiff will remain.



Date Submitted: August 6, 2020                        Respectfully Submitted,

                                                      /s/ Jacqueline Kutnik-Bauder
                                                      Jacqueline Kutnik-Bauder (45014MO)
                                                      ARCHCITY DEFENDERS, INC.
                                                      440 N. 4th St. Suite 390
                                                      St. Louis, MO 63102
                                                      P: 855-724-2489
                                                      F: 314-925-1307
                                                      jkutnikbauder@archcitydefenders.org
                                                      Attorney for Plaintiffs
